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  7
      Confirmed Chapter 11 Liquidating Plan
  8

  9
                                UNITED STATES BANKRUPTCY COURT
 10

 11                              CENTRAL DISTRICT OF CALIFORNIA

 12                                              NORTHERN DIVISION
 13

 14       In re                                            )   Case No. 9:16-bk-11912-DS
                                                           )
 15       CHANNEL TECHNOLOGIES                             )   Chapter 11
          GROUP, LLC,                                      )
 16                                                        )   LIQUIDATING TRUSTEE’S
                                    DEBTOR.                )   SEVENTH POST-CONFIRMATION
 17                                                        )   STATUS REPORT
                                                           )
 18                                                        )   [No Hearing Set]
                                                           )
 19

 20               TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED
 21   STATES BANKRUPTCY JUDGE, THE OFFICE OF THE UNITED
 22   STATES TRUSTEE, AND ALL OTHER PARTIES-IN-INTEREST:
 23               Corporate        Recovery            Associates,   LLC,   the   Liquidating    Trustee
 24   (“Liquidating Trustee”) appointed under the confirmed Chapter 11 Liquidating
 25   Plan (“Plan”)1 [Docket No. 426] of Debtor Channel Technologies Group, LLC
 26

 27
      1  Unless otherwise defined herein, the definitions of the capitalized terms contained herein are
 28
      as set forth in the Plan.
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  1   (“Debtor”), hereby submits the following Post-Confirmation Status Report
  2   (“Status Report”), as required by the Order Confirming Chapter 11 Liquidating
  3   Plan [Docket No. 473] (“Confirmation Order”), entered by the Court on March 2,
  4   2018.
  5           A.    Occurrence of the Effective Date.
  6           The Effective Date of the Plan occurred on April 2, 2018. On April 2,
  7   2018, the Liquidating Trustee provided notice of the occurrence of the Effective
  8   Date pursuant to the filing and service of the Notice of: (1) Occurrence of
  9   Effective Date of Chapter 11 Liquidating Plan, and (2) Deadlines for Filing
 10   Certain Claims and Requests for Payment [Docket No. 547].
 11           B.    Status of the Debtor’s Efforts to Consummate the Plan.
 12           The Plan provides, among other things, for the establishment of a
 13   liquidating trust (“Liquidating Trust”) and the appointment of the Liquidating
 14   Trustee to act as the trustee of the Liquidating Trust. The Liquidating Trust was
 15   organized and established to liquidate the assets of the Debtor’s estate for the
 16   benefit of the holders of all Allowed General Unsecured Claims against the
 17   Debtor. Pursuant to the terms of the Plan, the assets of the Debtor’s estate,
 18   including but not limited to potential causes of action held by the Debtor’s estate,
 19   were transferred to the Liquidating Trust on the Effective Date.
 20                 1.    The Liquidating Trustee’s Evaluation and Prosecution of
 21                       Litigation Claims.
 22           The Liquidating Trustee has evaluated thoroughly whether avoidance
 23   claims or other litigation claims should be pursued by the Liquidating Trustee for
 24   the benefit of the Debtor’s creditors. Based upon such evaluation, the Liquidating
 25   Trustee has taken certain actions, including negotiating agreements with five
 26   entities for tolling the statutory deadline for pursuing avoidance claims under
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  1   Section 546 of the bankruptcy code, and prosecuting the Litigation Claims. 2 The
  2   current status of such actions are as follows:
  3                          a.      Tolling Agreements. Having negotiated settlement of
  4   disputes with various parties, the Liquidating Trustee is not a party to any
  5   pending tolling agreements.
  6                          b.      Preference Action.           The parties to the Preference
  7   Action, (9:18-ap-01057-DS), have entered into a confidential global settlement
  8   agreement pursuant to which both the Preference Action and the D& O Action
  9   were resolved, and the parties filed a stipulation to dismiss the Preference Action
 10   with prejudice.      On March 25, 2020, the Court entered an order approving the
 11   parties’ stipulation to dismiss the Preference Action, and the adversary
 12   proceeding has been closed.
 13                          c.      Complex Litigation.
 14          The D & O Action filed in Santa Barbara County Superior Court against
 15   several former officers and directors of the Debtor has been settled. Pursuant to
 16

 17
      2  These Litigation Claims are comprised of i) a preference action filed October 12, 2018,
 18   against Lynn Chen, seeking, in part, to avoid and recover pursuant to Sections 547 and 550 of
      the Bankruptcy Code preferential transfers in approximate amount of $203,713 (“Preference
 19
      Action”); and the following Complex Litigation Claims: ii) an action filed by the Lynn Pinker
 20   law firm (“Lynn Pinker”) on the Liquidating Trustee’s behalf on October 12, 2018, against BW
      Piezo Holdings, LLC (an insider of the debtor), Blue Wolf Capital Partners, LLC and other
 21   entities, asserting, among others, causes of action for avoidance of fraudulent transfers under
      Sections 548 and 550 of the Bankruptcy Code (“Fraudulent Transfer Action”). The Fraudulent
 22   Transfer Action is based, in part, on Defendants’ diversion of approximately $70 million in
      gross sale proceeds from sale of a debtor-affiliated shell entity.; iii) an action filed in the Santa
 23
      Barbara Superior Court on October 15, 2018, against a number of former directors and officers
 24   of the Debtor, asserting, among others, causes of action for breach of fiduciary duty and
      negligence (“D & O Action”) related, in part, to the diversion of $70 million in gross sale
 25   proceeds referenced in the Fraudulent Transfer Action, and iv) an action filed in this Court on
      April 18, 2019 against Grant Thornton, seeking recovery , pursuant to 11 U.S.C. sections 548
 26   and 549, of post-petition payments made to Grant Thornton (“Grant Thornton Action”). The
      Preference Action, Fraudulent Transfer Action, D & O Action and Grant Thornton Action are
 27
      collectively referred to as the “Litigation Claims.”
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  1   the confidential settlement, the parties’ have stipulated to a dismissal of the D &
  2   O Action.
  3          In the Fraudulent Transfer Action (9:18-ap-01058-DS), on April 8, 2020,
  4   the Liquidating Trustee, the Blue Wolf Entities, and BW Piezo filed a joint
  5   stipulation to dismiss BW Piezo with prejudice from the Fraudulent Transfer
  6   Action, and the Liquidating Trustee and BW Piezo filed a separate stipulation
  7   providing for dismissal with prejudice of BW Piezo. These stipulated dismissals
  8   of BW Piezo from the Fraudulent Transfer Action were filed in connection with
  9   the confidential global mediation and settlement agreement entered in the D & O
 10   Action. The stipulated dismissal of BW Piezo was approved by the Court on
 11   April 10, 2020.
 12          The Liquidating Trustee and various Defendants in the Fraudulent Transfer
 13   Action have engaged in virtual mediations which have resulted in a confidential
 14   settlement. On July 6, 2020, the Liquidating Trustee and Defendants Fidus
 15   Investment Corporation, Fidus Mezzanine Capital II, L.P., Avante Mezzanine
 16   Partners SBIC, LP, and Avante Mezzanine Partner II, Inc. (collectively,
 17   “Lenders”), filed a stipulation to dismiss the Lenders from the Fraudulent
 18   Transfer Action with prejudice. The Liquidating Trustee continues efforts to
 19   schedule mediation and negotiate settlements with the remaining parties to the
 20   Fraudulent Transfer action, while also continuing to prepare for potential
 21   litigation.
 22          The Liquidating Trustee has entered into a confidential settlement of the
 23   Grant Thornton Action, and on July 6, 2020, filed a stipulation dismissing the
 24   adversary proceeding with prejudice.
 25          The Liquidating Trustee believes that the pending claims asserted and
 26   remaining to be litigated in the Fraudulent Transfer Action are meritorious, and is
 27   hopeful that, by continuing to prosecute these claims, the Liquidating Trustee
 28   may recover funds sufficient to enable the Liquidating Trustee to make
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  1   meaningful distributions to general unsecured creditors in this case.
  2                2.    The Liquidating Trustee’s Evaluation of the Claims
  3                      Asserted Against the Debtor’s Estate.
  4         Since the appointment of the Liquidating Trustee pursuant to the terms of
  5   the Plan, the Liquidating Trustee has devoted a significant amount of time and
  6   effort toward evaluating claims asserted against the Debtor in order to determine
  7   the validity of such claims and whether grounds exist to object to any such
  8   claims. Approximately 430 unsecured claims have been asserted against the
  9   Debtor’s estate, asserting initially more than $37.0 million in unsecured claims
 10   against the Debtor. The Liquidating Trustee has identified more than 150 claims
 11   which are subject to dispute in this case, and has already filed objections to 134
 12   claims.   The Liquidating Trustee has pursued potential settlement, with the
 13   assistance of counsel, with the holder of a disputed administrative claim.
 14                      a.     Resolution of the Lockheed Martin Claim. On April
 15   10, 2017, Lockheed Martin Corporation-Rotary and Mission Systems
 16   (“Lockheed”) filed a general unsecured claim in the amount of $19,568,400
 17   (“Lockheed Claim”), based on an alleged breach of that certain Teaming
 18   Agreement, dated as of July 18, 2014, by and between the Debtor and Lockheed.
 19   The Debtor engaged in settlement discussions with Lockheed regarding the
 20   resolution of the Lockheed Claim. On or about April 3, 2018, the Liquidating
 21   Trustee entered into a stipulation with Lockheed, pursuant to which the
 22   Lockheed Claim was reduced from $19,568,400 to $3,841,683 and treated as an
 23   allowed general unsecured claim under the terms of the Plan.
 24                      b.     Claims Objections.       The Liquidating Trustee has
 25   already filed objections to 134 claims, substantially all of which have been
 26   sustained by the Court.
 27         In addition to such claim objections, the Liquidating Trustee anticipates
 28   addressing, and, if appropriate, filing objections to, numerous other disputed
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  1   claims, but given the number and complexity of the outstanding disputed claims
  2   in this case, the Liquidating Trustee continues to employ a judicious and
  3   measured approach in strategizing to determine when, and whether, to file and
  4   litigate objections to disputed claims.        This analysis, and the Liquidating
  5   Trustee’s ultimate objective with regard to outstanding disputed claims, are
  6   dependent on the outcome of the Liquidating Trustee’s pending Litigation
  7   Claims.
  8         The Liquidating Trustee believes that it is prudent not to incur the
  9   substantial expense that would be associated with objecting to the numerous and
 10   complex outstanding disputed claims in this case until there is final clarity
 11   regarding the outcome of the remaining Litigation Claims, and until an associated
 12   determination can be made that pursuing disputed claims litigation is likely to
 13   result in a tangible benefit to creditors that is not outweighed by costs.
 14         On February 21, 2020, the Court entered an order [Docket No. 788],
 15   extending through March 29, 2021, the Claim Objection Deadline.
 16         C.     Distributions Made Under the Plan.
 17         The Debtor has made all distributions with respect to allowed
 18   administrative claims required by the Plan.        The Plan is a “pot” plan and,
 19   accordingly, there is no fixed payment to holders of Allowed General Unsecured
 20   Claims. As set forth hereinabove, the Liquidating Trustee is in the process of
 21   pursuing the Litigation Claims to attempt to obtain recoveries for the benefit of
 22   the Debtor’s creditors. Moreover, the Liquidating Trustee is investigating claims
 23   asserted against the Debtor’s estate, and if appropriate, will file additional
 24   objections to disputed claims. The recovery by creditors in this case will depend,
 25   for the most part, upon the amount of any recoveries realized by the Liquidating
 26   Trustee from the pursuit of the remaining Litigation Claims, and upon the success
 27   of objections to disputed claims asserted by the Liquidating Trustee. Accordingly,
 28   it is impossible at this time to predict either the timing or the ultimate recovery by
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  1   creditors in this case.
  2         D.      Post-Confirmation Tax Liabilities.
  3         The Liquidating Trust does not have any undisputed post-confirmation tax
  4   liabilities. The Santa Barbara County Treasurer-Tax Collector (“Tax Collector”)
  5   has filed an untimely administrative claim concerning taxes on assets sold while
  6   the bankruptcy case was pending.            The Liquidating Trustee has pursued a
  7   potential settlement, with the assistance of counsel, with the Tax Collector
  8   regarding this disputed claim, and the Liquidating Trustee has reserved against
  9   the claim pending evaluation and negotiations.
 10         E.      The Liquidating Trustee’s Ability to Continue to Comply with
 11                 the Terms of the Plan.
 12         The Liquidating Trustee projects that it will be able to continue to comply
 13   with the terms of the Plan.
 14         F.      Plan Consummation and Motion for Final Decree
 15         The Liquidating Trustee continues to act diligently to pursue the Litigation
 16   Claims on behalf of the Debtor’s creditors, and has obtained settlements of some
 17   of the Litigation Claims. However, the Liquidating Trustee expects that litigation
 18   and settlement efforts associated with the remaining Litigation Claims may take
 19   considerable time, particularly given the unpredictability of scheduling and
 20   calendaring efforts in the current pandemic. Further, a cost-benefit analysis of
 21   whether to pursue objections to pending claims cannot be effectively conducted
 22   until there is finality regarding the Litigation Claims. For these reasons, the
 23   Liquidating Trustee is unable to provide an estimate as to the date by which the
 24   Plan will be fully consummated and by which the Liquidating Trustee will be able
 25   to seek a final decree closing this case.
 26          ////
 27          ////
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  2   DATED: July 10, 2020.
  3                                       GRIFFITH & THORNBURGH, LLP
  4

  5
                                          By _____________________________
  6                                             JOSEPH M. SHOLDER
  7                                             FELICITA A. TORRES
                                          Attorneys for Liquidating Trustee
  8                                       Appointed under Confirmed Ch. 11 Plan
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